                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


     UNITED STATES OF AMERICA,

                     Plaintiff,

                v.                                    Case No. 1:24-cv-00710-LCB-
                                                      JLW
     CORTLAND MANAGEMENT, LLC

                     Defendant.



                                  STIPULATION AND ORDER

        It is hereby stipulated by and between the undersigned parties, subject to approval

and entry of this Order by the Court, as follows.

I.     JURISDICTION AND VENUE

        The Court has jurisdiction over the subject matter of this action and over the

parties to it. Venue for this action is proper in the United States District Court for the

Middle District of North Carolina. Defendant waives service of summons of the

Complaint.

II.    COMPLIANCE WITH AND ENTRY OF FINAL JUDGMENT

        A.   The proposed Final Judgment filed with this Stipulation and Order, or any

amended proposed Final Judgment agreed upon in writing by the United States and

Cortland Management, LLC (“Defendant”), may be filed with and entered by the Court


                                               1




      Case 1:24-cv-00710-LCB-JLW         Document 49       Filed 01/07/25     Page 1 of 6
as the Final Judgment, upon the motion of the United States or upon the Court’s own

motion, after compliance with the requirements of the Antitrust Procedures and Penalties

Act (“APPA”), 15 U.S.C. § 16, and without further notice to any party or any other

proceeding, as long as the United States has not withdrawn its consent. The United States

may withdraw its consent at any time before the entry of the Final Judgment by serving

notice on Defendant and by filing that notice with the Court.

       B.     From the date of the signing of this Stipulation and Order by Defendant

until the Final Judgment is entered by the Court, or until expiration of time for all appeals

of any ruling declining entry of the proposed Final Judgment, Defendant will comply

with all of the terms and provisions of the proposed Final Judgment.

       C.     From the date on which the Court enters this Stipulation and Order, the

United States will have the full rights and enforcement powers set forth in the proposed

Final Judgment as if the proposed Final Judgment were in full force and effect as a final

order of the Court, and Section XIII of the proposed Final Judgment will also apply to

violations of this Stipulation and Order.

       D.     Defendant agrees to arrange, at its expense, publication of the newspaper

notice required by the APPA, which will be drafted by the United States in its sole

discretion. The publication must be arranged as quickly as possible and, in any event, no

later than three business days after Defendant’s receipt of (1) the text of the notice from

the United States and (2) the identity of the newspaper or newspapers within which the


                                              2




    Case 1:24-cv-00710-LCB-JLW          Document 49       Filed 01/07/25    Page 2 of 6
publication must be made. Defendant must promptly send to the United States (1)

confirmation that publication of the newspaper notices has been arranged and (2) the

certification of the publication prepared by the newspaper or newspapers within which

the notice was published.

         E.   Any person who wishes to submit to the United States written comments

regarding the proposed Final Judgment should do so within 60 calendar days beginning

with the first day of the publication of the newspaper notice required by APPA or the

publication of the proposed Final Judgment and the Competitive Impact Statement in the

Federal Register as required by APPA, whichever is later.

         F.   This Stipulation and Order applies with equal force and effect to any

amended proposed Final Judgment agreed upon in writing by the United States and

Defendant and filed with the Court.

         G.   Defendant represents that the actions it is required to perform pursuant to

the proposed Final Judgment can and will be performed and that Defendant will not later

raise a claim of mistake, hardship, or difficulty of compliance as grounds for asking the

Court to modify any provision of the proposed Final Judgment or this Stipulation and

Order.

         H.   This Stipulation and Order, including the proposed Final Judgment filed

with this Stipulation and Order or any amended proposed Final Judgment agreed upon in

writing by the United States and Defendant, constitutes the final, complete, and exclusive


                                             3




    Case 1:24-cv-00710-LCB-JLW         Document 49       Filed 01/07/25    Page 3 of 6
agreement and understanding between the United States and Defendant with respect to

the settlement of the claims expressly stated in the Complaint filed in this above-

captioned case, and supersedes all prior agreements and understandings, whether oral or

written, concerning the settlement embodied herein.

III.    DURATION OF OBLIGATIONS

         In the event that (1) the United States has withdrawn its consent, as provided in

Paragraph II.A of this Stipulation and Order; (2) the United States voluntarily dismisses

the Complaint in this matter; or (3) the Court declines to enter the proposed Final

Judgment, the time has expired for all appeals of any ruling declining entry of the

proposed Final Judgment, and the Court has not otherwise ordered continued compliance

with the terms and provisions of the proposed Final Judgment, Defendant is released

from all further obligations under this Stipulation and Order, and the making of this

Stipulation and Order will be without prejudice to any party in this or any other

proceeding.




                                               4




       Case 1:24-cv-00710-LCB-JLW        Document 49       Filed 01/07/25    Page 4 of 6
Case 1:24-cv-00710-LCB-JLW   Document 49   Filed 01/07/25   Page 5 of 6
                                   ORDER

IT IS SO ORDERED by the Court, this ______ day of ____________________,
_________.




                                           United States District Judge




                                      6




   Case 1:24-cv-00710-LCB-JLW     Document 49    Filed 01/07/25    Page 6 of 6
